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 1                                                             District Judge Jamal N. Whitehead

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 3
                                 UNITED STATES DISTRICT COURT FOR THE
 4                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 5

 6
     PLAINTIFF PACITO; PLAINTIFF ESTHER;               CASE NO. 2:25-cv-00255
 7   PLAINTIFF JOSEPHINE; PLAINTIFF
                                                       NOTICE OF COMPLIANCE
     SARA; PLAINTIFF ALYAS; PLAINTIFF
 8   MARCOS; PLAINTIFF AHMED;
     PLAINTIFF RACHEL; PLAINTIFF ALI;
 9   HIAS, INC.; CHURCH WORLD SERVICE,
     INC.; and LUTHERAN COMMUNITY
10   SERVICES NORTHWEST,

11                        Plaintiffs,

12
             v.
13   DONALD J. TRUMP, in his official capacity
     as President of the United States, MARCO
14   RUBIO, in his official capacity as Secretary of
     State, KRISTI NOEM, in her official capacity
15   as Secretary of Homeland Security; ROBERT
     F. KENNEDY JR., in his official capacity as
16   Secretary of Health and Human Services,

17                    Defendants.

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24 Notice of Compliance                                      U.S. Department of Justice
                                                             Civil Division, Office of Immigration Litigation
                                                             P.O. Box 878, Ben Franklin Station
     No. 2:25-cv-00255-JNW                                   Washington, DC 20044
                                                             (202) 305-7234
             Case 2:25-cv-00255-JNW       Document 83      Filed 03/31/25        Page 2 of 3




 1
             On March 24, 2025, the Court ordered:
 2                Defendants’ attorneys shall provide written notice of this Order
                  to all Defendants and agencies and their employees,
 3                contractors, and grantees by March 31, 2025, at 5:00 p.m.
                  (Pacific Standard Time). Defendants shall file a copy of the
 4                notice of the docket at the same time.
 5 ECF No. 79.

 6
             Immediately following receipt of the Court’s Order on March 24, 2025, undersigned
     counsel notified counsel for the Department of Homeland Security, the United States
 7
     Citizenship and Immigration Services, Department of State, United States Customs and Border
 8
     Protection, and Department of Health and Human Services of the Court’s Order by providing
 9
     a complete copy of the Court’s written findings of fact, conclusions of law, and order issuing
10 preliminary injunction.

11           In the days following the Court’s March 24, 2025 Order, undersigned counsel

12 communicated with agency counsel to ensure that notice of the Court’s March 24, 2025 Order
     was shared with Defendants’ employees and efforts were made to comply with the Court’s
13
     Order. In further compliance with the Court’s Order, on March 31, 2025, Defendants notified
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     agency counsel of the provision of the Court’s Order, which requires Defendants’ counsel to
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     provide written notice of the court’s March 24, 2025 Order to Defendants’ employees,
16 contractors, and grantees by March 31, 2025, at 5:00 p.m. (Pacific Standard Time).

17 Undersigned counsel for Defendants requested that agency counsel promptly ensure that all

18 employees, contractors, and grantees impacted by the Court’s March 24, 2025 Order are

19 notified in accordance with the Court’s Order. A copy of the notice is attached hereto as
     Exhibit A.
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24                                                        Civil Division, Office of Immigration Litigation
                                                          P.O. Box 878, Ben Franklin Station
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                                                  1
             Case 2:25-cv-00255-JNW        Document 83    Filed 03/31/25         Page 3 of 3




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     DATED this 31st day of March, 2025.
 2                                            Respectfully submitted,

 3                                            YAAKOV M. ROTH
                                              Acting Assistant Attorney General
 4                                            Civil Division

 5                                            DREW ENSIGN
                                              Deputy Assistant Attorney General
 6
                                              AUGUST FLENTJE
 7                                            Acting Director

 8                                            /s/ Nancy K. Canter
                                              NANCY K. CANTER
 9                                            (CA Bar No. 263198)
                                              Senior Litigation Counsel
10
                                              JOSEPH MCCARTER
11                                            ALEXANDRA YEATTS
                                              Trial Attorneys
12                                            U.S. Department of Justice
                                              Civil Division, Office of Immigration Litigation
13                                            Washington, DC 20005
                                              Phone: 202-305-7234
14                                            Email: nancy.k.canter@usdoj.gov

15                                            Attorneys for Defendants

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     Notice of Compliance                                 U.S. Department of Justice
24                                                        Civil Division, Office of Immigration Litigation
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                                                          (202) 305-7234
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